                                                                              Motion GRANTED.
                        IN THE UNITED STATES DISTRICT COURT
                                                                              Hearing reset for
                                                                              8/28/14 at 1:30 p.m.
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION




UNITED STATES OF AMERICA                     )
                                             )
               v.                            )        No. 3:09-00099
                                             )        JUDGE TRAUGER
CALVIN ISSAH PRICE                           )



                    MOTION TO CONTINUE REVOCATION HEARING

        COMES NOW the United States of America and moves the Court to continue the

revocation hearing for the defendant presently scheduled for August 18, 2014. The hearing is

scheduled for the Court to consider violations of supervised release alleged in the petition (DE

778) and superseding petition (DE 817).

        The undersigned Assistant U.S. Attorney has been informed by the probation officer who

supervises the defendant that she is scheduled to be out of the office from August 18 through

August 25, 2014. The probation officer is a necessary witness as to the violations alleged in the

petition and superseding petition.

        The United States therefore moves the Court to continue the hearing until after August 25,

2014.




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